             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                     1:16-CR-64-MR-WCM-10

UNITED STATES OF AMERICA               )
                                       )
V.                                     )              ORDER
                                       )
CALIPH DEVON MAYO                      )
                                       )
______________________________________ )

      This matter is before the Court on a letter (“Request”) from the Warden

of the Federal Detention Center, Miami (“FDC – Miami”), where Defendant is

currently housed (Doc. 583), requesting an extension of the time for conducting

the competency evaluation of Defendant that was previously ordered by this

Court.

      For the reasons stated in the Request, and noting that defense counsel

has filed a response indicating he does not object to the requested extension

(Doc. 584), some additional time will be allowed. However, given the length of

time that has elapsed, the Request will be granted in part and no additional

extensions will be allowed.

      Accordingly, the Request is GRANTED IN PART and the deadline for

the completion of Defendant’s competency evaluation is extended to and

including November 19, 2021.




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     The clerk is respectfully directed to transmit a copy of this order to the

Warden at FDC-Miami.

     It is so ordered.



                          Signed: October 6, 2021




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